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                                   No. 22-9578


    In the United States Court of Appeals for the Tenth Circuit

                       MAGNETSAFETY.ORG;
               HOBBY MANUFACTURERS ASSOCIATION;
          NATIONAL RETAIL HOBBY STORES ASSOCIATION, INC.,
                                                        Petitioners,
                                       v.
                CONSUMER PRODUCT SAFETY COMMISSION,
                                                        Respondent.

                   On Petition for Review of Final Action of the
                United States Consumer Product Safety Commission

        BRIEF OF CONSTITUTIONAL ACCOUNTABILITY CENTER
           AS AMICUS CURIAE IN SUPPORT OF RESPONDENT

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                   CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amicus

 curiae states that no party to this brief is a publicly held corporation, issues stock,

 or has a parent corporation.




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                                  GLOSSARY

 CFPB         Consumer Financial Protection Bureau

 CPSC         Consumer Product Safety Commission

 FHFA         Federal Housing Finance Agency

 FTC          Federal Trade Commission

 ICC          Interstate Commerce Commission

 SEC          Securities and Exchange Commission




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                          INTEREST OF AMICUS CURIAE1

       Constitutional Accountability Center is a think tank and public interest law

 firm dedicated to fulfilling the progressive promise of the Constitution’s text and

 history. CAC works in our courts to improve understanding of the Constitution

 and accordingly has an interest in this case.

                                  INTRODUCTION

       Congress has been creating multimember independent agencies for most of

 the nation’s history—they have been part of the executive branch for longer than

 the light bulb.2 Nearly a century of Supreme Court precedent has affirmed the

 constitutional legitimacy of these agencies. And relying on that unbroken line of

 cases, Congress has established dozens of regulatory boards and commissions

 wielding substantial executive power whose leaders are removable only for cause.

       In Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020), the Supreme Court

 addressed “a new situation, never before confronted by the Court,” involving the



       1
         No counsel for a party authored this brief in whole or in part, and no person
 other than amicus or its counsel made a monetary contribution to it preparation or
 submission. All parties have consented to the filing of this brief.
       2
          Compare An Act to Regulate Commerce, ch. 104, § 11, 24 Stat. 379, 383
 (1887) (establishing Interstate Commerce Commission), with White House
 Historical Association, When was electricity first installed at the White House?,
 https://www.whitehousehistory.org/questions/in-what-year-was-electricity-
 installed-in-the-white-house (electricity installed at White House and at State, War,
 and Navy Building in 1891).


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  “almost wholly unprecedented” creation of an independent agency led “by a single

  individual.” Id. at 2211, 2201, 2197. Making clear that it was not “revisit[ing] our

  prior decisions,” the Court found “compelling reasons not to extend those

  precedents to the novel context of an independent agency led by a single Director.”

  Id. at 2192.

        Seila Law’s holding rested on three features of single-director independent

  agencies that the Court concluded distinguish them from “a traditional independent

  agency, run by a multimember board.” Id. First, the Court explained, such

  agencies are “an innovation with no foothold in history or tradition.” Id. at 2202.

  The Court’s approval of removal protections for multimember boards was not “a

  freestanding invitation for Congress to impose additional restrictions on the

  President’s removal authority” or to make other “innovative intrusions on

  Article II.” Id. at 2206, 2205. Second, the Court concluded that a single-director

  leadership structure is a greater “impediment to the President’s oversight of the

  Executive Branch,” because it “forecloses certain indirect methods of Presidential

  control” and deprives some presidents of “any opportunity to shape [the agency’s]

  leadership.” Id. at 2198, 2204. Third, unlike “a multimember board with a diverse

  set of viewpoints and experiences,” the Court concluded that empowering a single

  director with “no colleagues to persuade” impermissibly “clashes with




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  constitutional structure by concentrating power in a unilateral actor.” Id. at 2192,

  2204 (quotation marks omitted).

        The Court has since reiterated that it “did not revisit [its] prior decisions” in

  Seila Law but merely declined “to extend those precedents to the novel context of

  an independent agency led by a single Director.” Collins v. Yellen, 141 S. Ct.

  1761, 1783 (2021) (quotation marks omitted). Nevertheless, Petitioners contend

  that the opinion revolutionized the long-settled understanding of Humphrey’s

  Executor v. United States, 295 U.S. 602 (1935), which upheld the constitutionality

  of “expert agencies led by a group of principal officers removable by the President

  only for good cause.” Seila Law, 140 S. Ct. at 2192 (emphasis in original).

  According to Petitioners, “principal officers who exercise substantial executive

  power” must all be removable at will, Pet. Br. 15, even if they help lead expert

  agencies “as members of a board or commission,” Seila Law, 140 S. Ct. at 2201.

        Seila Law belies that interpretation, repeatedly emphasizing that it reaches

  only the “new configuration” of “an independent agency that wields significant

  executive power and is run by a single individual.” Id. at 2192 (emphasis added);

  see, e.g., id. at 2211 (“principal officers who, acting alone, wield significant

  executive power” (emphasis added)). And even if Seila Law were not so definitive

  on this point, Petitioners’ claim would still be foreclosed by established practice,




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  which has long settled the constitutional legitimacy of multimember independent

  agencies.

        In separation-of-powers cases, the judiciary places “significant weight upon

  historical practice,” Zivotofsky v. Kerry, 576 U.S. 1, 23 (2015) (quotation marks

  omitted), because it embodies “the compromises and working arrangements that

  the elected branches of Government themselves have reached,” NLRB v. Noel

  Canning, 573 U.S. 513, 526 (2014). That is so “even when the nature or longevity

  of that practice is subject to dispute, and even when that practice began after the

  founding era.” Id. at 525.

        As noted above, Congress has been assigning regulatory authority to

  multimember independent agencies since the nineteenth century. These agencies

  have wielded substantial executive power for generations. And during that time,

  the Supreme Court has consistently affirmed their constitutionality, right up to its

  recognition in Seila Law that Congress could amend the constitutional defects of

  the Consumer Financial Protection Bureau by “converting the CFPB into a

  multimember agency.” 140 S. Ct. at 2211. Thus, even if the legitimacy of

  multimember independent agencies were suddenly up for debate, as Petitioners

  claim, the long-established practice of the elected branches resolves that debate.

        The Consumer Product Safety Commission cannot be distinguished from the

  host of other multimember regulatory agencies across the federal government. All



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  of these agencies wield the Constitution’s “executive Power.” City of Arlington v.

  FCC, 569 U.S. 290, 304 n.4 (2013) (quoting U.S. Const. art. II, § 1, cl. 1). And

  there is no “clear standard,” Collins, 141 S. Ct. at 1784, by which to pick and

  choose which of them wields “substantial” or “immense” power, Pet. Br. 15. As

  the Supreme Court recently underscored, the validity of removal restrictions does

  not hinge on a subjective inquiry into “the relative importance of the regulatory

  and enforcement authority of disparate agencies.” Collins, 141 S. Ct. at 1785.

        Multimember independent agencies like the CPSC are also fully consonant

  with the Constitution’s original meaning. The constitutional text, which “is silent

  with respect to the power of removal,” In re Hennen, 38 U.S. 230, 258 (1839),

  does not specify the exact boundary between the president’s executive power and

  Congress’s authority to shape the federal government. The early consensus that

  presidents have inherent removal authority was coupled with a recognition that

  legislation can limit this authority to some extent, an option Congress began

  exercising in the nineteenth century. And as the Supreme Court has consistently

  acknowledged, conditioning removal on good cause is a permissible limit in the

  context of multimember expert bodies.

        In Seila Law, as in Free Enterprise Fund v. PCAOB, 561 U.S. 477 (2010),

  the Supreme Court simply drew a line in the sand—reaffirming “the importance of

  removal as a tool of supervision,” id. at 499, and prohibiting “additional



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  restrictions on the President’s removal authority” that have “no foothold in history

  or tradition,” Seila Law, 140 S. Ct. at 2206, 2202. It did not license lower courts to

  strike down a longstanding agency structure that the Supreme Court has repeatedly

  upheld—that of “a traditional independent agency headed by a multimember board

  or commission.” Id. at 2193.

                                     ARGUMENT

  I.    Seila Law Did Not Call into Question the Legitimacy of Multimember
        Independent Agencies.

        A.     Seila Law Addressed Only the Innovation of an Independent
               Agency Led by a Single Director.

        The Supreme Court could hardly have been clearer in Seila Law: “We hold

  that the CFPB’s leadership by a single individual removable only for inefficiency,

  neglect, or malfeasance violates the separation of powers.” 140 S. Ct. at 2197

  (emphasis added). “Instead of placing the agency under the leadership of a board

  with multiple members,” Congress “deviated from the structure of nearly every

  other independent administrative agency in our history” and “provided that the

  CFPB would be led by a single Director.” Id. at 2191. “The question before us,”

  the Court said, “is whether this arrangement violates the Constitution’s separation

  of powers.” Id. (emphasis added).

        According to the Court, the president’s Article II authority “generally

  includes the ability to remove executive officials,” but there are “exceptions” to



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  this rule. Id. at 2197, 2192. One exception was first recognized in Humphrey’s

  Executor, which “held that Congress could create expert agencies led by a group of

  principal officers removable by the President only for good cause.” Seila Law, 140

  S. Ct. at 2192 (emphasis in original).

        In Seila Law, the Court was “asked to extend these precedents to a new

  configuration: an independent agency that wields significant executive power and

  is run by a single individual.” Id. (emphasis added). The Court declined that

  invitation because it concluded that there were “compelling reasons not to extend

  those precedents to the novel context of an independent agency led by a single

  Director.” Id. That arrangement, it said, “lacks a foundation in historical practice

  and clashes with constitutional structure by concentrating power in a unilateral

  actor insulated from Presidential control.” Id.

        In refusing to broaden its precedent, the Court was clear that “we need not

  and do not revisit our prior decisions allowing certain limitations on the President’s

  removal power.” Id. Rather, just as in Free Enterprise Fund, the question instead

  was “whether to extend those precedents to the ‘new situation’ before us,” Seila

  Law, 140 S. Ct. at 2201 (quoting Free Enter. Fund, 561 U.S. at 483), which

  introduced a “novel impediment” to presidential authority, id. at 2198; see id. at

  2211 (“A decade ago, we declined to extend Congress’s authority to limit the

  President’s removal power to a new situation, never before confronted by the



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  Court. We do the same today.”); cf. Free Enter. Fund, 561 U.S. at 483 (declining

  “to reexamine any . . . precedents”).

        In short, Seila Law was crystal clear that it targeted only the new

  phenomenon of removal protections for agency heads who serve individually:

  “While we have previously upheld limits on the President’s removal authority in

  certain contexts, we decline to do so when it comes to principal officers who,

  acting alone, wield significant executive power.” 140 S. Ct. at 2211 (emphasis

  added).

        If any doubt remained, Collins v. Yellen eliminated it. In that challenge to

  the single-director Federal Housing Finance Agency, the Court concluded that “[a]

  straightforward application of our reasoning in Seila Law dictates the result.” 141

  S. Ct. at 1784. And in Seila Law, the Court explained, “[w]e did not revisit our

  prior decisions allowing certain limitations on the President’s removal power, but

  we found compelling reasons not to extend those precedents to the novel context of

  an independent agency led by a single Director.” Id. at 1783 (quotation marks

  omitted).

        Collins specifically rejected an argument that the validity of removal limits

  turns on “the nature and breadth of an agency’s authority.” Id. at 1784. Instead,

  the Court’s “straightforward” application of Seila Law was simple: “The FHFA




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  (like the CFPB) is an agency led by a single Director, and the Recovery Act (like

  the Dodd-Frank Act) restricts the President’s removal power.” Id.

        B.     Seila Law Rested on Three Features Unique to Single-Director
               Independent Agencies.

        After concluding that precedent did not resolve the legitimacy of removal

  protection for agency leaders who serve alone, Seila Law discussed three aspects of

  single-director leadership that it concluded made removal limits untenable in that

  context. None exists here.

        1. Historical Anomaly

        First and foremost, Seila Law stressed that “[t]he CFPB’s single-Director

  structure is an innovation with no foothold in history or tradition.” 140 S. Ct. at

  2202. Indeed, that structure was “almost wholly unprecedented.” Id. at 2201. In

  “only a handful of isolated incidents” had Congress elsewhere “provided good-

  cause tenure to principal officers who wield power alone rather than as members of

  a board or commission.” Id. at 2201 (quotation marks omitted). And nearly all of

  those “isolated examples” were also “comparatively recent and controversial.” Id.

  at 2202. All told, the “lack of historical precedent” for the Bureau’s single-director

  structure indicated a “severe constitutional problem.” Id. at 2201 (quoting Free

  Enter. Fund, 561 U.S. at 505).

        Seila Law was not the first time the Court articulated a suspicion of novelty.

  “Lack of historical precedent can indicate a constitutional infirmity,” the Court has

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  written, because novelty “is often the consequence of past constitutional doubts.”

  Virginia Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 260 (2011). Skepticism

  toward “novel governmental structures,” Seila Law, 140 S. Ct. at 2207, reflects a

  principle the modern Court has applied across multiple contexts: “Legislative

  novelty is not necessarily fatal . . . . But sometimes the most telling indication of

  [a] severe constitutional problem . . . is the lack of historical precedent for

  Congress’s action.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 549

  (2012) (quotation marks omitted); see Plaut v. Spendthrift Farm, Inc., 514 U.S.

  211, 230 (1995) (Congress’s “prolonged reticence” to assert an authority creates an

  “inference” that it is “constitutionally proscribed”).

        Applying this “antinovelty doctrine,” the Court often presumes that “a law

  without historical precedent is constitutionally suspect.” Neal Kumar Katyal &

  Thomas P. Schmidt, Active Avoidance: The Modern Supreme Court and Legal

  Change, 128 Harv. L. Rev. 2109, 2139 (2015); see Leah M. Litman, Debunking

  Antinovelty, 66 Duke L.J. 1407, 1411-12 (2017) (“Every Justice on the Supreme

  Court has joined an opinion promoting the idea that legislative novelty is evidence

  of a constitutional defect.”).

        Unlike the “historical anomaly,” Seila Law, 140 S. Ct. at 2202, of the

  CFPB’s single-director leadership, there is nothing remotely novel about the

  Consumer Product Safety Commission. It has the quintessential structure of a



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  multimember independent regulatory agency. Compare Act to Regulate

  Commerce, § 11, 24 Stat. at 383 (establishing the ICC with a bipartisan structure of

  five Commissioners, serving six-year terms, removable for cause), with 15 U.S.C.

  § 2053(a), (b)(1), (c) (establishing the CPSC with a bipartisan structure of five

  Commissioners, serving seven-year terms, removable for cause).

        Indeed, initial proposals for the CFPB were “modeled after the multimember

  Consumer Product Safety Commission.” Seila Law, 140 S. Ct. at 2192. But

  Congress departed from that model “in one critical respect.” Id. at 2193. “Rather

  than create a traditional independent agency headed by a multimember board or

  commission, Congress elected to place the CFPB under the leadership of a single

  Director.” Id. That critical difference was why precedent could not justify the

  CFPB’s “innovative intrusions on Article II.” Id. at 2205.

        2. Greater Encroachment on Presidential Oversight

        Seila Law also concluded that removal protections in a single-director

  agency intrude on presidential authority more than in a traditional, multimember

  agency. The CFPB’s structure was therefore a “novel impediment to the

  President’s oversight of the Executive Branch.” 140 S. Ct. at 2192, 2198.

        The CFPB’s defenders had argued that a single-director independent agency

  is equally accountable to the president as a multimember agency. See, e.g., Br. for

  Court-Appointed Amicus Curiae 44-46 (Jan. 15, 2020) (No. 19-7). But the Court



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  firmly rejected that argument, holding that the “unique structure” of the single-

  director Bureau “forecloses certain indirect methods of Presidential control” that

  are available to influence multimember bodies. Seila Law, 140 S. Ct. at 2204.

        “Because the CFPB is headed by a single Director with a five-year term,” a

  president could spend much of her term unable to remove a director holding

  diametrically opposed views. Id. Regardless of her own agenda, therefore, a

  president might well “enter office only to find herself saddled with a holdover

  Director from a competing political party who is dead set against that agenda.” Id.

  “To make matters worse,” the Court elaborated, “the agency’s single-Director

  structure means the President will not have the opportunity to appoint any other

  leaders—such as a chair or fellow members of a Commission or Board—who can

  serve as a check on the Director’s authority and help bring the agency in line with

  the President’s preferred policies.” Id. Indeed, “some Presidents may not have

  any opportunity to shape its leadership and thereby influence its activities,”

  because they will “never” be able to appoint a director. Id.

        None of this applies to the CPSC. With five commissioners serving

  staggered terms, regular vacancies allow every president to shape the agency’s

  leadership and agenda through new appointments. See 15 U.S.C. § 2053(a), (b).

  Moreover, the president selects the agency’s chairman, id. § 2053(a), who holds

  unique sway over the CPSC’s work as its “principal executive officer,” exercising



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  “all of the executive and administrative functions of the Commission,” including

  “the appointment and supervision of personnel” and control over “the use and

  expenditure of funds,” id. § 2053(f); see id. § 2053(g). At the same time, the

  commissioners’ staggered terms and the requirement of bipartisan representation,

  id. § 2053(c), prevent “abrupt shifts in agency leadership,” Seila Law, 140 S. Ct. at

  2200.

          In short, the CPSC’s familiar structure involves no “innovative intrusions on

  Article II.” Seila Law, 140 S. Ct. at 2205.

          3. Concentration of Power in a Single Person

          The third feature of the CFPB’s structure on which Seila Law rested was its

  consolidation of power in “a unilateral actor insulated from Presidential control.”

  140 S. Ct. at 2192. According to the Court, this configuration simply had “no

  place in our constitutional structure.” Id. at 2201. With “the sole exception of the

  Presidency, that structure scrupulously avoids concentrating power in the hands of

  any single individual.” Id. at 2202.

          As Seila Law explained, the Framers made the executive branch “unique in

  our constitutional structure” by vesting power in a single person. Id. at 2203.

  They balanced that choice by making the president “the most democratic and

  politically accountable official in Government” and by placing other executive

  officers under his “supervision and control.” Id. This “constitutional strategy,” in



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  a nutshell, was to “divide power everywhere except for the Presidency, and render

  the President directly accountable to the people.” Id.

        “The CFPB’s single-Director structure,” however, “contravene[d] this

  carefully calibrated system by vesting significant governmental power in the hands

  of a single individual.” Id. “With no colleagues to persuade,” this individual could

  “unilaterally” wield a range of enforcement, adjudicatory, and rulemaking

  authorities. Id. at 2203-04.

        The Court found this arrangement a far cry from the “multimember body of

  experts, balanced along partisan lines” that it previously had approved. Id. at 2199.

  The FTC discussed in Humphrey’s Executor was an entirely different animal:

  “Composed of five members—no more than three from the same political party—

  the [FTC] was designed to be ‘non-partisan’ and to ‘act with entire impartiality.’”

  Id. at 2198-99 (quoting Humphrey’s Ex’r, 295 U.S. at 624). Its duties “called for

  ‘the trained judgment of a body of experts’” to be “‘informed by experience,’”

  while its “staggered, seven-year terms enabled the agency to accumulate technical

  expertise and avoid a ‘complete change’ in leadership ‘at any one time.’” Id. at

  2199 (quoting Humphrey’s Ex’r, 295 U.S. at 624).

        In contrast, the CFPB director had no “peers” to share his wide portfolio of

  authority or to temper his decisions. Id. at 2191. The Court held that “this

  arrangement violates the Constitution’s separation of powers,” id. (emphasis



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  added), because it “clashes with constitutional structure by concentrating power in

  a unilateral actor insulated from Presidential control,” id. at 2192. The same

  cannot be said of “a traditional independent agency, run by a multimember board

  with a diverse set of viewpoints and experiences.” Id. at 2192 (quotation marks

  omitted).

  II.   Established Practice Places the Validity of Multimember Independent
        Agencies Beyond Doubt.

        As discussed above, Seila Law confined itself to “the novel context of an

  independent agency led by a single Director.” 140 S. Ct. at 2192. Petitioners,

  however, read it much more broadly. Ignoring most of the opinion, Petitioners

  characterize Seila Law as establishing a revolutionary new proposition—that all

  agency leaders who “exercise executive power” must be removable at will, Pet.

  Br. 56, even if they serve in “a traditional independent agency headed by a

  multimember board or commission,” Seila Law, 140 S. Ct. at 2193. In Petitioners’

  view, Seila Law’s description of Humphrey’s Executor functionally overruled that

  decision.

        That is precisely what the Justices said they were not doing, both in Seila

  Law and in Free Enterprise Fund. See Seila Law, 140 S. Ct. at 2206 (“we do not

  revisit Humphrey’s Executor or any other precedent”); Free Enter. Fund, 561 U.S.

  at 483, 501 (declining “to reexamine any of these precedents” or “to take issue

  with for-cause limitations in general”). Seila Law rejected the validity of “an

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  independent agency that wields significant executive power and is run by a single

  individual.” 140 S. Ct. at 2192 (emphasis added). Petitioners would have this

  Court simply lop off part of that statement. So too for similar passages throughout

  the opinion. E.g., id. at 2211 (“principal officers who, acting alone, wield

  significant executive power” (emphasis added)); id. at 2201 (“an independent

  agency led by a single Director and vested with significant executive power”

  (emphasis added)).

        Even if one ignored all these passages, the notion that Seila Law outlaws a

  type of removal limit that has existed since the nineteenth century would be deeply

  implausible. Established practice has long settled the constitutional legitimacy of

  multimember independent agencies.

        The flip side of the Supreme Court’s suspicion of “novel governmental

  structures,” Seila Law, 140 S. Ct. at 2207, is that “‘traditional ways of conducting

  government . . . give meaning’ to the Constitution,” Mistretta v. United States, 488

  U.S. 361, 401 (1989) (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

  579, 610 (1952) (Frankfurter, J., concurring)). For that reason, the Court “put[s]

  significant weight upon historical practice” in separation-of-powers cases.

  Zivotofsky, 576 U.S. at 23 (quotation marks omitted); see The Pocket Veto Case,

  279 U.S. 655, 689 (1929) (“established practice is a consideration of great weight

  in a proper interpretation of constitutional provisions of this character”). When



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  construing the Constitution’s broadly phrased divisions among the branches,

  judges “must hesitate to upset the compromises and working arrangements that the

  elected branches of Government themselves have reached.” Noel Canning, 573

  U.S. at 526.

        Established practice is crucial “even when the nature or longevity of that

  practice is subject to dispute, and even when that practice began after the founding

  era.” Id. at 525; see id. at 528-29 (relying on history of intra-session recess

  appointments that began after the Civil War); United States v. Midwest Oil Co.,

  236 U.S. 459, 473 (1915) (“in determining . . . the existence of a power, weight

  shall be given to the usage itself, even when the validity of the practice is the

  subject of investigation”). As James Madison wrote, it “was foreseen at the birth

  of the Constitution, that difficulties and differences of opinion might occasionally

  arise in expounding terms & phrases necessarily used in such a charter . . . and that

  it might require a regular course of practice to liquidate & settle the meaning of

  some of them.” Noel Canning, 573 U.S. at 525 (quoting Letter from James

  Madison to Spencer Roane (Sept. 2, 1819)).

        Supreme Court decisions “have continually confirmed Madison’s view.”

  Id.; e.g., McPherson v. Blacker, 146 U.S. 1, 27 (1892) (“where there is ambiguity

  or doubt, or where two views may well be entertained” in constitutional

  interpretation, “subsequent practical construction is entitled to the greatest



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  weight”); McCulloch v. Maryland, 17 U.S. 316, 401 (1819) (“a doubtful question”

  concerning the separation of powers, “if not put at rest by the practice of the

  government, ought to receive a considerable impression from that practice”);

  Stuart v. Laird, 5 U.S. 299, 309 (1803) (“practice and acquiescence” can “fix[] the

  construction” of constitutional provisions, “afford[ing] an irresistible answer” to

  contrary interpretations).

        Congress has been assigning regulatory authority to multimember

  independent agencies for a majority of the nation’s history, beginning nearly 150

  years ago with the Interstate Commerce Commission. See Act to Regulate

  Commerce, § 11, 24 Stat. at 383 (establishing commission with leaders removable

  only for cause). The ICC had investigative and enforcement authority over the

  single most important component of the American economy, the railroads,

  including the power to issue cease-and-desist orders, to require payment of

  reparations, and to enforce its orders in court. See id. §§ 12-16, 20; cf. Pet. Br.

  54-55 (citing the CPSC’s authority “to regulate certain practices across a segment

  of the U.S. economy,” “to seek daunting monetary penalties,” and to “bring actions

  for injunctive enforcement” (quotation marks omitted)).

        To the Congress that created the ICC, “independence . . . appears to have

  meant bipartisanship, as a guarantee of impartiality,” or, in other words,

  “independence of one-sided partisan control.” Robert E. Cushman, The



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  Independent Regulatory Commissions 61 (1941); see Marshall J. Breger & Gary J.

  Edles, Established by Practice: The Theory and Operation of Independent Federal

  Agencies, 52 Admin. L. Rev. 1111, 1127 (2000) (“bipartisan control of the

  commission was the main concern”). Although the Interior Secretary initially had

  some authority over the ICC, see Act to Regulate Commerce, §§ 18, 21, 24 Stat. at

  386-87, Congress eliminated it two years later, see Act of Mar. 2, 1889, ch. 382,

  §§ 7-8, 25 Stat. 855, 861-62. And in 1906, Congress empowered the ICC to

  prescribe maximum railroad rates, as well as “fair” and “reasonable” practices, see

  Act of June 29, 1906, ch. 3591, § 4, 34 Stat. 584, 589, cementing its status as “a

  very powerful agency,” Breger & Edles, supra, at 1130.

        In the early twentieth century, “a multitude of new agencies were established

  using the ICC as their prototype,” including “the Federal Reserve Board (1913),

  Federal Trade Commission (1914), Federal Radio Commission (1927), Federal

  Power Commission (1930), Securities and Exchange Commission (1934), Federal

  Communications Commission (1934), National Labor Relations Board (1935),

  Bituminous Coal Commission (1935), and Federal Maritime Commission (1936).”

  Id. at 1116 & n.14. Similar agencies, including the CPSC, proliferated throughout

  the rest of the century.

        The long pedigree of these agencies is all but dispositive of their legitimacy.

  “A legislative practice . . . marked by the movement of a steady stream for a



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  century and a half of time” indicates “the presence of unassailable ground for the

  constitutionality of the practice.” United States v. Curtiss-Wright Exp. Corp., 299

  U.S. 304, 327-28 (1936).

        For generations, these multimember independent agencies have wielded

  substantial executive power. Even when their actions take legislative or judicial

  forms, such as rulemaking and adjudication, they are still “exercises of . . . the

  ‘executive Power’” under the Constitution. Arlington, 569 U.S. at 304 n.4.

  Although the Supreme Court initially conceived of the FTC’s authority as “quasi-

  legislative or quasi-judicial,” rather than as executive, this view “has not withstood

  the test of time.” Seila Law, 140 S. Ct. at 2198 & n.2. In other words, Humphrey’s

  Executor permitted for-cause removal protections for a multimember agency with

  power that “would at the present time be considered ‘executive.’” Morrison v.

  Olson, 487 U.S. 654, 699 n.28 (1988).

        Regardless of whether Humphrey’s Executor reflects an outdated notion of

  executive power, it remains a fact that the Court upheld the constitutionality of a

  multimember independent agency with the power “to prevent persons,

  partnerships, or corporations . . . from using unfair methods of competition,” An

  Act to Create a Federal Trade Commission, ch. 311, § 5, 38 Stat. 717, 719 (1914),

  to charge private parties with violating that proscription, id., to adjudicate those

  charges in administrative hearings, id., to order private parties “to cease and desist



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  from using such method of competition,” id. at 720, to enforce those orders in

  court, id., and to issue “rules and regulations” carrying out its various authorities,

  id. § 6(g), 38 Stat. at 722; cf. Pet. Br. 54-55 (highlighting similar powers of the

  CPSC).

        The Court never retreated from that holding, but instead repeatedly affirmed

  it. In Wiener v. United States, the Court confronted “a variant of the constitutional

  issue decided in Humphrey’s Executor” and reached the same result. 357 U.S.

  349, 351 (1958). By the time of Morrison v. Olson, it had been established for half

  a century that “the Constitution did not give the President ‘illimitable power of

  removal’ over the officers of independent agencies.” 487 U.S. at 687 (quoting

  Humphrey’s Ex’r, 295 U.S. at 630).

        Two decades later, the Court again confirmed the validity of removal

  protections for multimember bodies wielding significant executive power. It held

  that Article II was satisfied where officers within the SEC were shielded from

  removal by “a single level of good-cause tenure.” Free Enter. Fund, 561 U.S. at

  509. Such officers were adequately “subject . . . to Presidential oversight.” Id.

        Seila Law reinforced these principles yet again. Not only did the Court

  emphatically base its holding on the “new situation” of an independent officer

  wielding power “alone,” but it explained that Congress could cure the




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  constitutional defect while preserving removal limits by “converting the CFPB into

  a multimember agency.” 140 S. Ct. at 2211.

        Thus, for nearly a century, an unbroken line of decisions has approved a

  governmental structure that was pioneered another half-century before that. Over

  the generations, Congress has relied on this precedent to create “some two-dozen

  multimember independent agencies” with for-cause removal protections. Id. at

  2206. This “practical exposition” of the Constitution is, by now, “too strong and

  obstinate to be shaken.” Laird, 5 U.S. at 309.

        The CPSC cannot be distinguished from the other multimember independent

  agencies that have long populated the executive branch. Such agencies with

  enforcement or rulemaking power include the Federal Reserve Board of

  Governors, Federal Deposit Insurance Corporation, Federal Election Commission,

  Federal Energy Regulatory Commission, Federal Labor Relations Authority,

  Federal Maritime Commission, Federal Trade Commission, National Credit Union

  Administration, National Labor Relations Board, Nuclear Regulatory Commission,

  Securities and Exchange Commission, U.S. International Trade Commission, and

  others. See Breger & Edles, supra, at 1236-94. Even more agencies possess

  adjudicatory authority. See id.

        All of these agencies wield the Constitution’s “executive Power.” Arlington,

  569 U.S. at 304 n.4. Seila Law did not silently invalidate the constitutionality of



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  all these multimember bodies in a case that did not even involve a multimember

  body.

  III.    Constitutional Text and History Further Underscore the Legitimacy
          of Multimember Independent Agencies.

          In addition to being validated by precedent and established practice,

  multimember independent agencies like the CPSC are fully consonant with the

  Constitution’s original meaning.

          When a limit on removal authority is challenged as unconstitutional, there

  are two sides to the coin: On one side is the president’s “executive Power” and

  duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 1,

  cl. 1; id. art. II, § 3. On the other is Congress’s authority to define the federal

  government’s “Departments” and “Officers,” id. art. II, § 2, and to pass laws

  necessary and proper for “carrying into Execution . . . all . . . Powers vested . . .

  in the Government,” id. art. I, § 8, cl. 18. The precise line between these powers

  has long been contested, but the president has never been understood to enjoy an

  illimitable removal power.

          Early on, it became “settled and well understood” that presidents have

  inherent removal authority, not shared with the Senate or dependent on legislation.

  Hennen, 38 U.S. at 259. But despite this acceptance of removal authority “as a

  general matter,” Free Enter. Fund, 561 U.S. at 513, it was always understood that

  Congress has some leeway to limit this implied authority.

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        Congress started doing so in the nineteenth century. And until recently, the

  only removal limits ever judicially invalidated were quite different from the one at

  issue here. They effectively prevented removals entirely, either by requiring

  congressional consent, see Myers v. United States, 272 U.S. 52, 107 (1926);

  Bowsher v. Synar, 478 U.S. 714, 726 (1986), or by stacking multiple layers of

  tenure, see Free Enter. Fund, 561 U.S. at 486. While Seila Law clarified that

  “other innovative intrusions” can also violate Article II, 140 S. Ct. at 2205, this is

  plainly an area where doctrinal development is “liquidat[ing] & settl[ing] the

  meaning” of the Constitution, Noel Canning, 573 U.S. at 525 (quoting Letter from

  James Madison to Spencer Roane, supra). And that only reinforces the importance

  here of “[l]ong settled and established practice.” Id. at 524 (quotation marks

  omitted).

        A. The Constitution’s text anticipates that Congress would “by Law” create

  “Departments” and “Officers,” U.S. Const. art. II, § 2, but it specifies little about

  their relationship to the president. That was no accident: the Framers rejected a

  plan to delineate in the Constitution the duties of specific department heads who

  would serve “during pleasure.” 2 Records of the Federal Convention of 1787, at

  335-36 (Max Farrand ed., 1911).

        Instead, the Framers gave Congress discretion over the manner in which

  “all” the federal government’s powers would be “carr[ied] into Execution.” U.S.



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  Const. art. I, § 8, cl. 18. And “the constitution makes no mention of any power of

  removal by the executive of any officers whatsoever.” 3 Joseph Story,

  Commentaries on the Constitution of the United States § 1531 (1833).

        At the Founding, there was no consensus that “executive” power necessarily

  entailed removal authority. See Martin S. Flaherty, The Most Dangerous Branch,

  105 Yale L.J. 1725, 1790 (1996). Removal authority was not “an inherent attribute

  of the ‘executive power’ as it was understood in England.” Daniel D. Birk,

  Interrogating the Historical Basis for A Unitary Executive, 73 Stan. L. Rev. 175,

  182 (2021). Nor in Founding-era state governments, where removal authority was

  typically “lodged in the Legislatures or in the courts.” Myers, 272 U.S. at 118.

        B. Because “[t]he Constitution is silent with respect to the power of removal

  from office,” Hennen, 38 U.S. at 258, the issue came to the fore when Congress

  created the federal government’s first departments. But the ensuing “Decision of

  1789” addressed only who, if anyone, possesses inherent removal power—not the

  extent to which Congress may condition that power.

        The “real point which was considered and decided” was whether the

  Senate’s role in approving appointments also gave it “part of the removing power.”

  Myers, 272 U.S. at 119; see Hennen, 38 U.S. at 259. As Congress considered

  legislation establishing a Foreign Affairs Secretary, disagreement arose about

  whether to declare that the president could remove the Secretary from office. See



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  David P. Currie, The Constitution in Congress: The First Congress and the

  Structure of Government, 1789–1791, 2 U. Chi. L. Sch. Roundtable 161, 196-201

  (1995). Views differed about whether the Constitution gave inherent removal

  power to the president, the Senate, both, or neither. Id.; see Hennen, 38 U.S. at

  233. The final legislation obliquely signaled that the president could remove the

  Secretary, but without specifying whether this power was statutory or

  constitutional. See Act of July 27, 1789, ch. 4, § 2, 1 Stat. 28, 29. Congress thus

  “left presidential removal to shadowy implication.” Saikrishna Prakash, New Light

  on the Decision of 1789, 91 Cornell L. Rev. 1021, 1052 (2006).

        In short, the episode established only that “the constitution vested the power

  of removal in the President alone,” not jointly with the Senate. 1 Annals of Cong.

  398 (Rep. Vining) (1789). Requiring the Senate’s consent could prevent presidents

  from firing officers who failed to execute the law faithfully. See id. at 395, 515-16

  (Rep. Madison).

        Whether Congress could limit removal in other ways was “never really

  contested,” because the debate focused on where the removal power was lodged,

  not on Congress’s authority to “modify or abridge” it. Prakash, supra, at 1072.

  Indeed, Madison remarked that while his belief in inherent presidential removal

  authority prevailed, it “is subject to various modifications, by the power of the

  Legislature.” Letter from James Madison to Edmund Pendleton, Founders Online



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  (June 21, 1789), https://founders.archives.gov/documents/Madison/01-12-02-0152;

  accord The Federalist No. 39, at 242 (Clinton Rossiter ed., 1961) (Madison) (“The

  tenure of the ministerial offices generally will be a subject of legal regulation.”).

         The Decision of 1789, therefore, “did not endorse the view that Congress

  lacked authority to modify the Constitution’s grant of removal power to the

  President.” Prakash, supra, at 1073.

         C. In the following decades, Congress’s power to modify the president’s

  removal authority remained widely accepted. As the Supreme Court put it, only

  those offices “the tenure of which is not . . . limited by law” are held “subject to

  removal at pleasure.” Hennen, 38 U.S. at 259; see id. (removal power is “incident

  to the power of appointment” only “[i]n the absence of . . . statutory regulation”).

  James Kent explained that the Decision of 1789 applied only to officers “whose

  term of duration is not specifically declared,” 1 Commentaries on American Law

  289 (1826), and Joseph Story likewise wrote that the Decision did not address

  “whether congress can give any duration of office . . . not subject to the exercise of

  this power of removal,” Story, supra, § 1531; see id. (executive officers “must hold

  their offices during pleasure, unless congress shall have given some other duration

  to their office”).

         Consistent with that understanding, when Congress set fixed terms for

  various federal officers, Congress deemed it necessary to specify that they “shall



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  be removable from office at pleasure.” Act of May 15, 1820, ch. 102, § 1, 3 Stat.

  582, 582. That caveat would have been unnecessary if the Constitution already

  mandated removal at pleasure. It was needed because the president’s general

  removal authority “was not regarded . . . as embracing officers with fixed term[s].”

  Edward S. Corwin, Tenure of Office and the Removal Power under the

  Constitution, 27 Colum. L. Rev. 353, 379 (1927).

        In the second half of the nineteenth century, Congress imposed a variety of

  removal restrictions. When disputes arose, the Supreme Court consistently

  resolved them as statutory matters, e.g., McAllister v. United States, 141 U.S. 174

  (1891); Shurtleff v. United States, 189 U.S. 311 (1903), expressly avoiding

  “arriving at a decision [on] the question of the constitutional power of the president

  in his discretion to remove officials during the term for which they were

  appointed,” Parsons v. United States, 167 U.S. 324, 334 (1897).

        Not until Myers did the Court firmly establish the president’s removal

  authority, rejecting a requirement of Senate approval because it could make it

  “impossible for the President, in case of political or other difference with the

  Senate or Congress, to take care that the laws be faithfully executed.” 272 U.S. at

  164. But in contrast, the Court upheld good-cause tenure for the leaders of

  multimember expert agencies less than ten years later. Humphrey’s Ex’r, 295 U.S.

  at 626. It has done so ever since. See Free Enter. Fund, 561 U.S. at 509 (curing



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  constitutional defect by subjecting multimember body to “a single level of good-

  cause tenure”); Seila Law, 140 S. Ct. at 2211 (inviting Congress to preserve

  removal limits by “converting the CFPB into a multimember agency”).

                                   CONCLUSION

         For the foregoing reasons, this Court should hold that the CPSC’s structure

  is constitutional.

                                        Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

        I hereby certify that this brief complies with the type-volume limitation of

  Fed. R. App. P. 29(a)(5) because it contains 6,440 words, excluding the parts of the

  brief exempted by Fed. R. App. P. 32(f).

        I further certify that this brief complies with the typeface requirements of

  Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

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        Dated: August 17, 2023.

                                                      /s/ Brianne J. Gorod
                                                      Brianne J. Gorod




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                            CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of August, 2023, I electronically filed

  the foregoing document using the Court’s CM/ECF system, causing a notice of

  filing to be served upon all counsel of record.

        Dated: August 17, 2023

                                                      /s/ Brianne J. Gorod
                                                      Brianne J. Gorod




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